       Case 8-20-08044-ast            Doc 25       Filed 08/26/21        Entered 08/26/21 16:01:36




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
In re:                                                          :   Chapter 11
                                                                :
ORION HEALTHCORP, INC 1.                                        :   Case No. 8-18-71748 (AST)
                                                                :
                       Debtors.                                 :   (Jointly Administered)
                                                                :
HOWARD M. EHRENBERG IN HIS CAPACITY                             :   Adv. Pro. No. 8-20-08044 (AST)
AS LIQUIDATING TRUSTEE OF ORION                                 :
HEALTHCORP, INC., ET AL.,                                       :
                                                                :
Plaintiff,                                                      :
                                                                :
v.                                                              :
                                                                :
AMERICAN EXPRESS TRAVEL RELATED                                 :
SERVICES COMPANY, INC.,                                         :
                                                                :
Defendant(s).                                                   :

        STIPULATION REQUESTING AMENDMENT TO CASE MANAGEMENT
                         AND DISCOVERY PLAN

        Plaintiff, Howard Ehrenberg, in his capacity as Liquidating Trustee of Orion Healthcare,

Inc. (the “Plaintiff”) and Defendant American Express Travel Related Services Company, Inc.

(“Defendant”; together with the Plaintiff, the “Parties”), by and through their undersigned

counsel of record, stipulate as follows:




1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Orion Healthcorp, Inc. (7246); Constellation Healthcare Technologies, Inc. (0135); NEMS Acquisition,
LLC (7378); Northeast Medical Solutions, LLC (2703); NEMS West Virginia, LLC (unknown); Physicians Practice
Plus Holdings, LLC (6100); Physicians Practice Plus, LLC (4122); Medical Billing Services, Inc. (2971); Rand
Medical Billing, Inc. (7887); RMI Physician Services Corporation (7239); Western Skies Practice Management, Inc.
(1904); Integrated Physician Solutions, Inc. (0543); NYNM Acquisition, LLC (unknown) Northstar FHA, LLC
(unknown); Northstar First Health, LLC (unknown); Vachette Business Services, Ltd. (4672); Phoenix Health, LLC
(0856); MDRX Medical Billing, LLC (5410); VEGA Medical Professionals, LLC (1055); Allegiance Consulting
Associates, LLC (7291); Allegiance Billing & Consulting, LLC (7141); New York Network Management, LLC
(7168). The corporate headquarters and the mailing address for the Debtors listed above is 1715 Route 35 North,
Suite 303, Middletown, NJ 07748.
      Case 8-20-08044-ast        Doc 25     Filed 08/26/21     Entered 08/26/21 16:01:36




                                            RECITALS

       Plaintiff and Defendant, each by and through their respective undersigned attorney,

hereby stipulate and agree to extend the written and document fact discovery deadline from

September 30, 2021 to December 30, 2021, and to extend the time to select a mediator and

schedule mediation to January 13, 2022:

       1.      On March 12, 2020, Plaintiff filed a complaint [Dkt. No. 1] against Defendant.

       2.      The Summons [Dkt. No. 2] was issued by the Clerk’s Office on March 13, 2020.

       3.      On March 19, 2020, Defendant was served with the summons and complaint.

       4.      On July 13, 2020, Defendant filed Defendant’s Answer And Affirmative Defenses

To Complaint For Avoidance And Recovery Of (1) Preferential And Or Fraudulent Transfers

And (2) Objection To Claim No. 69 Pursuant To 11 U.S.C. §§ 502, 547, 548 & 550 [Dkt. No. 8].

       5.      On March 25, 2021, the Court entered the Case Management and Discovery Plan

[Dkt. No. 22] (the “Discovery Plan”), setting, among other things, a deadline for all written and

document fact discovery for September 30, 2021, so that such fact discovery could be conducted

prior to the Parties’ selection of a mediator and scheduling of mediation.

       6.      The Pre-Trial Conference was adjourned to October 5, 2021, and, because the

Parties desired and agreed to attend mediation, the Discovery Plan requires the Parties to file a

joint stipulation prior to the Pre-Trial Conference advising of the mediator selection and

proposed mediation date.

       7.      This is an adversary involving alleged transfers of over ten million dollars and

multiple accounts and theories of recovery. The Parties have met and conferred over the course

of this adversary proceeding and have exchanged a substantial amount of information and

records via formal and informal discovery, and are continuing to do so. In addition, Plaintiff has
      Case 8-20-08044-ast         Doc 25     Filed 08/26/21      Entered 08/26/21 16:01:36




served subpoenas on two third-parties, and is expecting supplemental responses from those third-

parties.

           8.   The Parties are seeking additional time to continue the discovery process and

confer regarding the facts and legal issues, in order to prepare adequately for mediation and

possibly pre-mediation settlement discussions. The Parties therefore seek to extend the written

and document fact discovery deadline by approximately 90 days, and to extend the time to file

their joint stipulation advising of the mediator selection and proposed mediation date

accordingly.

           NOW AND THEREFORE, IT IS HEREBY STIPULATED AND AGREED:

           1.   All written and document fact discovery between the Parties shall be completed no

later than December 30, 2021.

           2.   The Parties will jointly file a stipulation with the Court advising of the selection of a

mediator and the date proposed for mediation no later than January 13, 2022.

           3.   Each person who executes this Stipulation represents that he or she is duly

authorized to execute this Stipulation on behalf of the respective Parties hereto and that each such

party has full knowledge and has consented to this Stipulation.

           4.   This Stipulation may be executed in one or more counterparts, any of which may be

transmitted by facsimile or electronic transmission, and each of which shall be deemed an original,

but all of which together shall constitute one and the same document.
     Case 8-20-08044-ast      Doc 25       Filed 08/26/21   Entered 08/26/21 16:01:36




Dated: August 20, 2021                       Dated: August 20, 2021

PACHULSKI STANG ZIEHL & JONES LLP            ARNALL GOLDEN GREGORY LLP
Attorneys for Plaintiff Howard M.            Counsel for Defendant American Express
Ehrenberg in his capacity as Liquidating     Travel Related Services Company, Inc.
Trustee of Orion Healthcorp, Inc., et al

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1) And it is hereby ORDERED that the Pretrial Conference is adjourned
   from October 5, 2021 to January 26, 2022 at 2:00 pm (EST).
SO ORDERED:




                                                          ____________________________
 Dated: August 26, 2021                                             Alan S. Trust
        Central Islip, New York                         Chief United States Bankruptcy Judge
